                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN

JOHN BULTHOUSE Individually and as
Personal Representative for the Estate of
Paul Bulthouse, Deceased,

       PLAINTIFF,
                                                                  Case No.: 1:21-cv-00281
       -vs-                                                       Hon. Paul L. Maloney

COUNTY OF MUSKEGON, a municipal corporation, et. al.

       DEFENDANTS.
_____________________________________________________________________/
The Marcel S. Benavides Law Office     Foley, Baron, Metzger & Juip PLLC
Marcel S. Benavides (P69562)           Brian J. Richtarcik (P49390)
Attorney for Plaintiff                 Randall A. Juip (P58538)
801 West Eleven Mile Rd., Ste. 130     Attorneys for Defendants, Wellpath, LLC,
Royal Oak, MI 48067                    Joseph Natole, M.D., Carleen Blanche, RN,
(248) 549-8555                         Jessica Fairbanks, LPN, Ashleigh Severance,
benavideslaw@att.net                   LPN, Aubrey Schotts, RN, Richele Marion,
                                       EMT, Danielle Carlson, LPN, Britni
                                       Brinkman, EMT and David Lopez, LPN,
                                       only
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                                       Livonia, MI 48152
                                       (734) 742-1800
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          STIPULATION AND ORDER EXTENDING TIME TO ANSWER
      THE COMPLAINT AND FILE AFFIDAVITS OF MERITORIOUS DEFENSE


       Defendants, WELLPATH, LLC, JOSEPH NATOLE, M.D., CARLEEN BLANCHE, RN,

JESSICA FAIRBANKS, LPN, ASHLEIGH SEVERANCE, LPN, AUBREY SCHOTTS, RN,

RICHELE MARION, EMT, DANIELLE CARLSON, LPN, BRITNI BRINKMAN, EMT and

DAVID LOPEZ, LPN, only, voluntarily accepted service of the Complaint (filed 3/29/2021) and

filed appearances in this matter by their attorneys, FOLEY, BARON, METZGER & JUIP,

PLLC, on 4/29/2021. Therefore Plaintiff’s counsel has agreed to stipulate to extend the time for

these defendants to answer the complaint 63 days from the date of the above referenced
appearances. Further Plaintiff’s counsel agrees to extend the time for these defendants to file

Affidavits of Meritorious Defense required by MCL 600.2912e to be due 91 days after these

defendants file their answer to the Complaint.

       THEREFORE, defendants Answer to the Complaint by WELLPATH, LLC, JOSEPH

NATOLE, M.D., CARLEEN BLANCHE, RN, JESSICA FAIRBANKS, LPN, ASHLEIGH

SEVERANCE, LPN, AUBREY SCHOTTS, RN, RICHELE MARION, EMT, DANIELLE

CARLSON, LPN, BRITNI BRINKMAN, EMT and DAVID LOPEZ, LPN, only, shall be due

filed on or before 7/6/2021, and their affidavit of Meritorious Defense pursuant to MCL

600.2912e shall be due filed on or before 91 days after Defendants file their Answer.



Date: May 6, 2021                               /s/ Paul L. Maloney
                                              __________________________________
                                              United States District Judge


I stipulate to entry of the above order as to form and substance:

/s/Marcel S. Benavides with consent              /s/Brian J. Richtarcik______________
Marcel S. Benavides (P69562)                     Brian J. Richtarcik (P49390)
Attorneys for Plaintiff                          Attorneys for Defendants, Wellpath, LLC,
                                                 Joseph Natole, M.D., Carleen Blanche, RN,
                                                 Jessica Fairbanks, LPN, Ashleigh
                                                 Severance, LPN, Aubrey Schotts, RN,
                                                 Richele Marion, EMT, Danielle Carlson,
                                                 LPN, Britni Brinkman, EMT and David
                                                 Lopez, LPN, only


Prepared by:

/s/Brian J. Richtarcik___________
BRIAN J. RICHTARCIK (P49390)




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